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                                       November 17, 2023
Via ECF
The Honorable Jacqueline Scott Corley
United States District Court
Northern District of California
450 Golden Gate Ave.
San Francisco, CA 94102

       RE:     Demartini, et al v. Microsoft Corporation
               Case No: 3:22-cv-08991-JSC

Dear Judge Corley,

       Microsoft Corporation seeks a protective order precluding the deposition of Harvey Smith,
the Creative Director of Arkane Studios (which was owned by ZeniMax Media and acquired by
Microsoft in 2021).

                                     MICROSOFT’S POSITION:

       Plaintiffs represented for nine months that they only needed to take five or six depositions.
(Ex. A [excerpts of Tr. of 2/2/23 Status Conference at 17:4-5; Tr. of 4/12/23 Status Conference at
22:14-23:4; Tr. of 4/27/23 Status Conference at 4:14-24; 8/25/23 Status Conference Statement at
1].) The depositions of those six senior Microsoft executives were first noticed in April and re-
noticed in September. The parties had numerous meet and confers during which Plaintiffs
represented that these were the only Microsoft witnesses that they needed to depose.

        Then, on November 1, Plaintiffs noticed the deposition of another Microsoft witness,
Harvey Smith. Plaintiffs have known about Mr. Smith at least since April, when they featured him
in their amended complaint: “In a recent interview, the director of Redfall, Harvey Smith, stated:
‘We got bought by Microsoft and that was a huge sea change. They said, ‘no PlayStation 5. Now
we’re gonna do Game Pass, Xbox, and PC.’” (Ex. B [Am. Compl. at ¶ 5].) But after securing
their (re)depositions of top Microsoft executives, Plaintiffs have engaged in a campaign to seek
increasingly more discovery from Microsoft and non-parties in the final weeks of fact discovery
period.

        Mr. Smith’s testimony has no bearing on any claim or defense in this action. Fed. R. Civ.
Proc. 26(b)(1). The Court addressed this issue in the parallel FTC action. Microsoft’s decision
regarding Redfall is not indicative of what Microsoft will do with Call of Duty, because “[n]either
Starfield nor Redfall are remotely similar to Call of Duty.” Case No. 23-cv-02880-JSC, Dkt. 327,
at 44:15-16. The relevance of Mr. Smith’s commentary or impressions of Microsoft’s executives’
decision-making is even more attenuated.

       Mr. Smith’s testimony would be cumulative, duplicative, and redundant of topics that have
been obtained (or were obtainable) from many other witnesses. Fed. R. Civ. Proc. 26(b)(2)(C).
The Microsoft executives that Plaintiffs are re-deposing have testified at length (in the FTC action
and this action) about the decision to make Redfall exclusive. They have been transparent that
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Redfall was originally envisioned by ZeniMax as a multiplatform game and then after the
acquisition of ZeniMax, Microsoft decided to make Redfall exclusive to its platforms. See Case
No. 23-cv-02880-JSC, Dkt. 327, at 44:10-12. Mr. Smith’s comment about Redfall becoming
exclusive is not a new fact and testimony about that comment would add nothing to a topic that
has been hashed and rehashed. The Microsoft decision-makers are the best source of information
regarding this fact and the reasoning for the decision, and they have all testified multiple times.

         Even if it were relevant to pinpoint the status of Redfall’s development at the time
Microsoft decided to make it exclusive, there is no record to correct on that score. Matt Booty’s
testimony—                                                                        —did not conflict
with Harvey Smith’s interview statements that ZeniMax originally planned a PlayStation 5 version.
It also does not raise any issue that has not already been addressed. In his deposition, Pete Hines,
former head of publishing at Bethesda, testified that although they “had contemplated releasing a
version for PlayStation 5,” a reference to a PlayStation 5 version “d[id] not mean . . . a full in-
development version.” (Ex. C (Hines FTC Dep. 97:2–23).) Significantly, Mr. Smith did not say
otherwise in the interview that Plaintiffs rely on.

           Mr. Smith’s deposition would be disproportionate to the needs of this case. Fed. R. Civ.
Proc. 26(b)(1). For the reasons above, his testimony is not important to resolving any issue in this
case. Indeed, the facts related to Redfall are undisputed and inconsequential. The burden of adding
another deposition, which would occur in Texas, to a jam-packed end of the discovery period
outweighs any benefit. The parties already have eight depositions scheduled in the final eleven
days of fact discovery. Realistically, the only way to complete Mr. Smith’s deposition is to conduct
it after fact discovery closes. The (lack of) significance to his deposition does not justify a violation
of the case schedule. The aggressive schedule in this case was based on the Plaintiffs’
representation of the scope of discovery. Expanding that scope to include ever more document
and deposition discovery in the waning days of fact discovery is disproportionate and unwarranted.

       Finally, Plaintiffs did not confer with Microsoft about Mr. Smith’s availability before
noticing his deposition, as required by Local Rule 30-1. Mr. Smith is not available on November
17.
                                       PLAINTIFFS’ POSITION:

        Plaintiffs properly noticed the deposition of Mr. Smith under Federal Rule of Civil
Procedure 30. Pursuant to Rule 30, a party may depose any person without leave of court unless
the parties have not stipulated to the deposition and the deposition would result in more than 10
depositions being taken. Fed. R. Civ. P. 30(a)(1)-(2)(A)(i). Plaintiffs properly noticed Mr. Smith’s
deposition and have taken less than 10 depositions. Plaintiffs are entitled to depose Mr. Smith.

        A court may issue a protective order to “protect a party or person from annoyance,
embarrassment, oppression, or undue burden or expense . . . .” Fed. R. Civ. P. 26(c). The burden
of persuasion under Fed. R. Civ. P. 26(c) is on the party seeking the protective order. See, e.g.,
U.S. E.E.O.C. v. Caesars Ent., Inc., 237 F.R.D. 428, 432 (D. Nev. 2006).

       Microsoft argues first that the deposition seeks irrelevant information. But the basis for
the deposition is straightforward and clear. Mr. Smith is the head of Microsoft’s Arkane Studios,
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                                       CERTIFICATION

        The undersigned lead counsel for each party certifies that they met and conferred via
video conference regarding this discovery dispute. Microsoft has not made any offer to make
Mr. Smith available for deposition, because it does not believe his deposition is warranted.
Plaintiffs have agreed to take the noticed November 17 date off calendar, and to confer regarding
a mutually convenient date if Mr. Smith is ordered to appear for a deposition.


                                                     Respectfully Submitted,

                                                       /s/ Valarie C. Williams

                                                            Counsel for Microsoft


                                                      /s/ Cadio Zirpoli

                                                            Counsel for Plaintiffs



cc: All counsel of record via ECF




                                    ATTESTATION OF FILER
       Pursuant to Civil L.R. 5-1(h)(3), regarding signatures, I, [name], attest that concurrence

in the filing of this document has been obtained.


Dated: November 17, 2023                                     /s/ Valarie C. Williams
